          Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

    MELODY JOY CANTU and                        §
    DR. RODRIGO CANTU,                          §
    Plaintiffs                                  §
                                                §
                                                § CASE NO.: 5:20-CV-00746-JKP (HJB)
                                                §
    V.                                          §
                                                §
    DR. SANDRA GUERRA and                       §
    DIGITAL FORENSICS                           §
    CORPORATION, LLC                            §
    Defendants                                  §

            DEFENDANT, DR. SANDRA GUERRA’S MOTION TO COMPEL
         PLAINTIFFS’ RESPONSES TO WRITTEN REQUESTS FOR DISCOVERY
         REGARDING PLAINTIFFS’ DAMAGES AND REQUEST FOR SANCTIONS

TO THE HONORABLE UNITED STATES DISTRICT COURT:

         NOW COMES Defendant, DR. SANDRA GUERRA (“Defendant” and “Dr. Guerra”),

and, in accordance with Fed. R. Civ. P. 26 and 37, 1 files this her Motion to Compel Plaintiffs’

Responses to Written Requests for Discovery Regarding Plaintiffs’ Damages and Request for

Sanctions, and, in support thereof, respectfully shows unto the Court as follows:

I.       Background.

         1.    Plaintiffs have asserted 8 causes of action against Dr. Guerra and co-defendant,

Digital Forensics Corporation, LLC (“DFC”), for violation of the Computer Fraud Abuse Act (the

“CFAA Claims”), 3 causes of action for Harmful Access by Computer (the “Texas Statutory


1
 The discovery requests which are the subject of this Motion to Compel are not the subject of the
Court’s Order dated August 11, 2022 [Doc. 98] because such written discovery requests were
propounded by Dr. Guerra after the Court’s entry of such Order and was, therefore, not subject to
any prior court filing. The deadline for completion of discovery in this cause was September 15,
2022 and Dr. Guerra timely served the discovery requests which are the subject of this Motion.
                                                                                     PAGE 1 OF 9
         Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 2 of 9




Claims”), 1 cause of action for violation Federal Wire Tap Act, 1 cause of action for intentional

infliction of emotional distress, and 1 cause of action for malicious prosecution. In connection

therewith, Plaintiffs seek to recover compensatory, consequential, and punitive damages from Dr.

Guerra and DFC (collectively, “Defendants”). 2

       2.      Dr. Guerra served her First Set of Interrogatories to Plaintiff, Melody Joy Cantu

and First Set of Interrogatories to Plaintiff, Dr. Rodrigo Cantu, on August 15, 2022 requesting, that

Plaintiffs “[i]dentify with specificity all the compensatory [, consequential, and punitive] damages

[they] seek to recover from Dr. Guerra [and DFC] in connection with [their] CFAA Claims [Texas

Statutory Claims, intentional inflection of emotional distress, and malicious prosecution claims],”

including the amount of each item of damages and the date such damage/cost was incurred. 3

       3.      Plaintiffs’ objections and responses to Dr. Guerra’s interrogatories were due on

September 14, 2022, but they failed to timely serve their objections and responses on that date.

Instead, Plaintiffs served boilerplate objections on September 15, 2022 and failed to include any

responses whatsoever to any of the interrogatories. 4

       4.      Dr. Guerra also served her Third Request for Production to Plaintiff, Melody Joy

Cantu, and Second Request for Production to Plaintiff, Dr. Rodrigo Cantu, on August 15, 2022

requesting, among other things, that Plaintiffs produce all receipts, invoices, and documents

evidencing their alleged compensatory, consequential, and punitive damages they seek to recover

in connection with their CFAA Claims, Texas Statutory Claims, intentional inflection of emotional

distress, and malicious prosecution claims against Defendants. 5




2
  Plaintiffs’ First Amended Complaint [Doc. 6], “Prayer for Relief,” (a)-(c).
3
  Exhibit A and Exhibit B.
4
  Exhibit C and Exhibit D.
5
  Exhibit E and Exhibit F.
                                                                                         PAGE 2 OF 9
           Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 3 of 9




          5.     Plaintiffs’ objections and responses to Dr. Guerra’s requests for production were

due on September 14, 2022, but Plaintiffs never served any objections and have not produced all

documents responsive to these requests.

          6.     Counsel for Dr. Guerra has attempted to confer with counsel for Plaintiffs on

multiple occasions regarding this specific matter, but the parties were unable to resolve this

discovery dispute.      Plaintiffs’ counsel refuses to withdraw Plaintiffs’ untimely, boilerplate

objections to Dr. Guerra’s interrogatories or to respond to any of these discovery requests.

II.       Argument and Authorities.

          7.     Rule 26(b)(1) provides as follows:

          Unless otherwise limited by court order, the scope of discovery is as follows:
          Parties may obtain discovery regarding any nonprivileged matter that is relevant to
          any party's claim or defense and proportional to the needs of the case, considering
          the importance of the issues at stake in the action, the amount in controversy, the
          parties’ relative access to relevant information, the parties’ resources, the
          importance of the discovery in resolving the issues, and whether the burden or
          expense of the proposed discovery outweighs its likely benefit. Information within
          this scope of discovery need not be admissible in evidence to be discoverable. 6

          8.     [The Fifth Circuit] recognizes broad and liberal treatment of the federal discovery

rules. U.S. v. Holley, 942 F.2d 916, 924 (5th Cir. 1991). The Court should grant Dr. Guerra’s

Motion and assess sanctions against Plaintiffs and/or Plaintiffs’ counsel pursuant to Fed. R. Civ.

P. 37(a)(5) for the following reasons:

          A.    DR. GUERRA’S WRITTEN REQUESTS FOR DISCOVERY REGARDING PLAINTIFFS’
                ALLEGED DAMAGES.

                 i.      Plaintiffs Failed to Timely Object.

          9.     Dr. Guerra served her interrogatories and requests for production on August 15,




6
    FED. R. CIV. P. 26(b)(1).
                                                                                         PAGE 3 OF 9
         Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 4 of 9




2022 7 and Plaintiffs’ signed and sworn responses to such interrogatories were due on September

14, 2022. 8 Plaintiffs did not serve their objections to Dr. Guerra’s interrogatories until September

15, 2022 and never served any objections to Dr. Guerra’s requests for production. Accordingly,

pursuant to Rule 33(b)(2) and 34(b)(2)(C), Plaintiffs’ have waived any objection to such discovery

due to their failure to timely object.

                ii.      Plaintiffs Failed to Object with Specificity.

        10.     Damages are an essential element of Plaintiffs’ burden of proof for each and every

cause of action asserted against Defendants. In particular, under the CFAA, Plaintiffs must prove

that they incurred damages of more than $5,000 during any 1-year period. 9 To prove an action for

malicious prosecution, Plaintiff, Melody Joy Cantu, must establish she suffered damages as a result

of the prosecution. 10

        11.     Dr. Guerra’s interrogatories specifically request information regarding the type and

amount of damages Plaintiffs seek to recover from Defendants. Nevertheless, Plaintiffs asserted

six invalid “general objections” and specifically asserted the following boilerplate objections to

each and every interrogatory and refused to provide any response:




7
  Exhibit A, Exhibit B, Exhibit E, Exhibit F
8
  FED. R. CIV. P. 33(b)(2) and 34(b)(2)(C).
9
  18 U.S.C. §§1030(c)(4)(A)(i)(I), (g)
10
   Richey v. Brookshire Grocery Co., 952 S.W.2d 515, 517 (Tex. 1997).
                                                                                         PAGE 4 OF 9
         Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 5 of 9




       12.     The “prohibition against general [or blanket] objections to discovery requests has

been long established.” 11 Rule 33(b)(4) requires that “grounds for an objection to an interrogatory

must be stated with specificity,” and Rule 34(b)(2)(C) requires that an objection to a request for

production “must state whether any responsive materials are being withheld on the basis of that

objection.” 12 In short, “[o]bjections to discovery must be made with specificity, and the

responding party has the obligation to explain and support its objections.” 13

       13.     “So-called boilerplate or unsupported objections—even when asserted in response

to a specific discovery request and not as part of a general list of generic objections preceding any

responses to specific discovery requests —are likewise improper and ineffective and may rise (or

fall) to the level of what the Fifth Circuit has described as ‘an all-too-common example of the sort

of ‘Rambo tactics' that have brought disrepute upon attorneys and the legal system.’ ” 14 Simply

objecting to requests as “overly broad, burdensome, oppressive and irrelevant,” without showing

“specifically how each [request] is not relevant or how each question is overly broad, burdensome

or oppressive,” is inadequate to “voice a successful objection.” 15

       14.     Here, Plaintiffs offer no explanation as to how or why Dr. Guerra’s interrogatories

or requests for production seeking information specifically pertaining to Plaintiffs’ alleged

compensatory, consequential, and punitive damages are overly broad, unduly burdensome, or

irrelevant. It is particularly confounding how Plaintiffs, on the one hand, refuse to disclose any

information pertaining to their alleged damages on the basis that such information is allegedly




11
    Heller v. City of Dallas, 303 F.R.D. 466, 483 (N.D. Tex. 2014) (citation omitted).
12
   FED. R. CIV. P. 33(b)(4), 34(b)(2)(C).
13
    Heller, 303 F.R.D. at 483 (citation omitted).
14
   Id. at 483-84 (citing McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1484-
86 (5th Cir.1990)).
15
   McLeod, 894 F.2d at 1484-86.
                                                                                         PAGE 5 OF 9
         Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 6 of 9




“irrelevant”, but, on the other hand, they simultaneously seek summary judgment from the Court

on their CFAA Claims, Texas Statutory Claims, and malicious prosecution claims by claiming that

no genuine issues of material fact exists as to Plaintiffs’ purported damages. 16

        15.     Thus, Plaintiffs have not only failed to timely object to Dr. Guerra’s written

discovery requests, but such untimely objections wholly fail to comply with the Rules requiring

Plaintiffs to object “with specificity.”

        B.      REQUEST FOR SANCTIONS.

        16.     “Counsel have an obligation, as officers of the court, to assist in the discovery

process by making diligent, good-faith responses to legitimate discovery requests.” 17

        17.     Rule 26(g) requires every discovery response and objection to be signed by at least

one attorney of record. 18 “By signing, an attorney or party certifies that the to best of the person’s

knowledge, information and belief formed after a reasonable inquiry…with respect to a discovery

request, response, or objection, it is …

                (ii)    not interposed for any improper purpose, such as to harass, cause
                        unnecessary delay, or needlessly increase the cost of litigation; and

                (iii)   neither unreasonable nor unduly burdensome or expensive, considering the
                        needs of the case, prior discovery in the case, the amount in controversy,
                        and the importance of the issues at stake in the action. 19

        18.     Rule 26(g) further provides that “if a certification violates this rule without

substantial justification, the court, on motion or on its own, must impose an appropriate sanction




16
   See Plaintiffs’ Motion for Summary Judgement [Doc. 110].
17
   McLeod, 894 F.2d at 1486.
18
   Fed. R. Civ. P. 26(g).
19
   Id. at 26(g)(1)(B)(ii)-(iii).
                                                                                           PAGE 6 OF 9
          Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 7 of 9




on the signer, the party on whose behalf the signer was acting, or both. The sanction may include

an order to pay the reasonable expenses, including attorney's fees, caused by the violation.” 20

        19.     The United States Court of Appeals for the Fifth Circuit has further commended

the Texas Lawyers' Creed's command that an attorney “will not make objections…for the purpose

of delaying or obstructing the discovery process,” and the Court of Appeals observed that “the

spirit of the Federal Rules of Civil Procedure is served by adherence to similar principles of

professionalism and civility.” 21 “Rule 26(g) was enacted ‘to bring an end to the abusive practice

of objecting to discovery requests reflexively—but not reflectively—and without a factual

basis.’” 22 “Rule 26(g) ‘and its commentary are starkly clear: an objection to requested

discovery may not be made until after a lawyer has paused and consider[ed] whether, based on a

reasonable inquiry, there is a factual basis [for the] ... objection.’ ” 23

        20.     No such factual basis exists here, and Plaintiffs’ request in their motion for

summary judgment that the Court find that no genuine issues of material fact exist as to Plaintiffs’

alleged damages only serves to underscore the absence of any such factual basis for Plaintiffs’

objections to Dr. Guerra’s interrogatories. 24

        21.     Accordingly, Dr. Guerra seeks mandatory sanctions against Plaintiffs and/or

Plaintiffs’ counsel under Rule 26(g)(3) — in the form of an award of Dr. Guerra’s reasonable and

necessary attorneys' fees — on the basis that Plaintiffs have not substantial justification for their

continued refusal to respond to Dr. Guerra’s discovery requests regarding Plaintiffs’ damages,




20
   Id. at 26(g)(3) (emphasis added).
21
   McLeod, 894 F.2d at 1486 (internal quotation marks omitted).
22
    Heller, 303 F.R.D. at 477 (citing Mancia v. Mayflower Textile Services. Co., 253 F.R.D. 354,
358 (D.Md.2008)).
23
   Id. (internal quotation marks omitted) (emphasis added).
24
   See Plaintiffs’ Motion for Summary Judgement [Doc. 110].
                                                                                         PAGE 7 OF 9
         Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 8 of 9




which is indisputable an essential element of Plaintiffs’ claims against Defendants. Alternatively,

Dr. Guerra seeks sanctions against Plaintiffs and/or Plaintiffs’ counsel under Rule 37(a)(5)(A).

                                       PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant, DR. SANDRA GUERRA,

respectfully prays that this Court, (i) grant Dr. Guerra’s Motion to Compel Plaintiffs’ Responses

to Written Requests for Discovery Regarding Plaintiffs’ Damages and Request for Sanctions, (ii)

order Plaintiffs to serve their signed, sworn responses, without objection, to Dr. Guerra’s First Set

of Interrogatories served on August 15, 2022, (ii) order Plaintiffs to serve their responses, without

objection, to Dr. Guerra’s requests for production served on August 15, 2022, (iii) order Plaintiffs

and/or Plaintiffs’ counsel, pursuant to Fed. R. Civ. P. 26(g), or, alternatively, Rule 37(a)(5)(A), to

pay Dr. Guerra $1,500.00 (or $2,500.00 in the event the Court holds an oral hearing on this Motion)

for the reasonable attorneys’ fees incurred by Dr. Guerra as a result of Plaintiffs’ noncompliance

with the rules of discovery, and (iii) grant Dr. Guerra all such other and further relief, both general

and special, at law or in equity, to which she may be entitled.




                                                                                           PAGE 8 OF 9
         Case 5:20-cv-00746-JKP Document 111 Filed 10/27/22 Page 9 of 9




 Dated: October 27, 2022.                           Respectfully submitted,

                                                    DAVIS, CEDILLO & MENDOZA, INC.

                                                    McCombs Plaza, Suite 500
                                                    755 E. Mulberry Avenue
                                                    San Antonio, Texas 78212
                                                    Telephone No.: (210) 822-6666
                                                    Telecopier No.: (210) 822-1151

                                                    By:    /s/Ricardo G. Cedillo __________
                                                     RICARDO G. CEDILLO
                                                     Texas State Bar No. 04043600
                                                     rcedillo@lawdcm.com
                                                     BRANDY C. PEERY
                                                     Texas State Bar No. 24057666
                                                     bpeery@lawdcm.com

                                              ATTORNEYS FOR DEFENDANT, DR. SANDRA
                                              GUERRA


                                 CERTIFICATE OF SERVICE

        I certify that on this 27th day of October 2022, a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
electronic notification of such filing to the parties on record.


                                                  /s/Ricardo G. Cedillo
                                                 RICARDO G. CEDILLO




                                                                                         PAGE 9 OF 9
